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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

 In re:

 RODNEY A LONG,                                         Case No. 19-17941 KHT
                                                        Chapter 7
     Debtor.


                                     ORDER DENYING MOTION

       THIS MATTER comes before the Court on Debtor’s Voluntary Motion to Dismiss Chapter
7 Case (the “Motion,” docket #31), and the Objection thereto (docket #32), filed by Creditor
Cherise Smith. The Court has reviewed the pleadings and the file, and is advised in the premises,
and hereby finds and concludes as follows:

       Debtor’s Motion seeks dismissal of his bankruptcy case in order to pursue state court
appeals and re-file his bankruptcy case at a later date. Creditor, a party to the state court litigation
Debtor seeks to pursue, objects, asserting there is no viable appeal route available to Debtor, and
the Motion appears to be filed in bad faith.

                   Unlike under Chapter 13, the debtor has no absolute right to dismissal of a
          Chapter 7 case. In order to succeed in a motion to dismiss, the debtor must make
          a showing of cause and demonstrate why dismissal is justified. Even if the debtor
          can show cause, the court should deny the motion if there is any showing of
          prejudice to creditors. Courts generally consider the following factors when ruling
          on a debtor’s motion to dismiss: (1) whether all of the creditors have consented;
          (2) whether the debtor is acting in good faith; (3) whether dismissal would result in
          an prejudicial delay in payment; (4) whether dismissal would result in a reordering
          of priorities; (5) whether there is another proceeding through which the payment of
          claims can be handled; and (6) whether an objection to discharge, an objection to
          exemptions, or a preference claim is pending.

In re Turpen, 244 B.R. 431, 434 (8th Cir. BAP 2000) (citations omitted). Here, the Court finds a
likelihood of prejudice to Creditor if the case were dismissed. An objection to dischargeability is
pending, which Debtor seeks to delay. The Court cannot find Debtor is acting in good faith or has
otherwise sufficiently shown “cause” for dismissal. The Motion will therefore be denied.

          Accordingly,

          IT IS HEREBY ORDERED that the Motion is DENIED.

 Dated August 7, 2020                                BY THE COURT:


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                                                     _________________________
                                                     Kimberley H.
                                                     Kimberley H Tyson
                                                     United States Bankruptcy Judge
